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                              I-INITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA
                                Criminal No. 2l-36 (NEB/DTS)

LINITED STATES OF AMERICA.

                           Plaintiff,

        v.                                          PLEA AGREEMENT A}[D
                                                    SENTENCING STIPULATIONS
 DAYTON CHARLES SAUKE.

                           Defendant.


       The United States of America and Dayton Charles Sauke (hereinafter referred to as

the 'odefendant") agree to resolve this case on the terms and conditions that follow. This

plea agreement binds only the defendant and the United States Attorney's Office for the

District of Minnesota. This agreement does not bind any other United States Attorney's

Office or any other federal or state agency.

       1.          Charges. The defendant agrees to plead guilty to Count    I   of the Indictment,

which charges the defendant with possession of an unregistered fltrearm, in violation of 26

U.S.C. $$ 58a5(a), 5841, 5861(d) and 5871.

       2.          Factual Basis. The defendant is pleading guilty because he is in fact guilty

of Count     I   of the Indictment. In pleading guilty, the defendant admits the following facts,

and further agrees that if the parties were to go to trial in this case, the United States would

be able to prove those facts beyond a reasonable doubt:

       In December 2020, the Bureau of Alcohol, Tobacco, Firearms, and Explosives

("ATF") began an investigation into the defendant's manufacturing and trafficking of

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                                                                                         AUG 2     6 20714
                                                                                    U,S. DISTRICT COURT $T PAIJI-
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privately made frrearms, commonly referred to by the public (and the defendant himself)

     ooghost
as             guns."

         On January 15, 2021, the defendant met with trvo undercover ATF agents in a

parking lot of a business in Faribault, Minnesota, for the purpose of selling a privately

manufactured firearm           to them. The defendant    remained   in his vehicle   during the

transaction, where the undercover agents saw a short-barreled shotgun and asked to see it.

The defendant displayed the short-barreled shotgun to the undercover agents at their

request. After the transaction was complete, the police took the defendant into custody and

ultimately recovered the short-barreled shotgun from the defendant's vehicle. They also

executed a search warrant at the defendant's residence in Owatonna, Minnesotq during

which time they seized a computer numerical control ("CNC") machine used for

manufacturing firearms, as well as other evidence as set forth in Attachment A.

         The short barreled shotgun was examined by an ATF expert, who determined it was

an operable l2-gauge shotgun with a barrel length of approximately 11 inches and a total

overall length of l8 inches.

         The defendant stipulates that he knowingly possessed a fnearm on January 15,2021,

specifically:    (l)    he knew the frrearm had a barrel of less than 18 inches in length and   it

also had an overall modified length of less than 26 inches; (2) the firearm was capable         of

operating as designed or could readily be put in operating condition; and (3) he did not

register this firearm in the National Firearms Registration and Transfer Record, all in

violation of 26 U.S.C. $$ 5841, 5861(d) and 5871. The defendant further stipulates that he

acted voluntarily and he knew his actions violated the law.
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       3.     Waiver of Pretrial Motions. The defendant understands and               agrees that he

has certain rights to file pre-trial motions in this case. As part of this plea agreement, and

based upon the concessions of the United States     within this plea agreement, the defendant

knowingly, willingly, and voluntarily withdraws the pretrial motions he has already filed

and gives up the right to   hle any additional pre-trial motions in this   case.


       4.     Statutory Penalties. The parties agrce that Count I ofthe Indicfinent carries

statutory penalties of:

              a.              ama:rimum of 10 yearso imprisonment.26 U.S.C. $ 5871;
              b.              a supervised release term of 3 years. 18 U.S.C. $$ 3559(a)(3)
                              and 3s83(b)(2);
              c.              a lure of up to $10,000 (26 U.S.C. $ 5871);
              d.              a mandatory special assessment of $100. 18 U.S.C. $
                              3013(a)(2)(A); and
              e.              assessment to the defendant of the costs of prosecution as
                              defined in 28 U.S.C. $$ 1918(b) and 1920.

       5.     Revocation of Supervised Release. The defendant undentands that                    if   he

were to violate any condition of supervised release, the defendant could be sentenced to an

additional term of imprisonment up to the length of the original supervised release term,

subject to the statutory manimums set forth in 18 U.S.C. $ 3583.

       6.     Guideline Calculations. The parties acknowledge that the defendant will be

sentenced in accordance     with 18 U.S.C. $ 3551, et seq. Nothing in this plea agreement

should be construed to limit the parties from presenting any and all relevant evidence to

the Court at sentencing. The parties also acknowledge that the Court               will   consider the

United States Sentencing Guidelines in determining the appropriate sentence and stipulate

to the following guideline calculations:
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            Base Offense Level. The parties agree that the base offense level for
            possession of an unregistered firearm is 18. U.S.S.G. g 2K2.1(a)(5).

      b.    Specifrc Offense Characteristics. The govemment believes that the
            offense level should be increased by 4 levels, because the defendant
            used or possessed the short-barreled shotgun in connection with
            another felony offense, specifically, engaging in the business of
            manufacturing and dealing in firearms without a license in violation
            of l8 U.S.C.922(a)(l)(A). U.S.S.G. $ 2K2.1(bX6XB). The defendant
            does not believe that the offense level should be increased. The parties
            will present their respective positions at sentencing.

            Other than described above, the parties agree that no other specific
            offense characteristics apply.

           Acceptance of Responsibility. The government agrees to recommend
           that the defendant receive a 2-level reduction for acceptance of
           responsibility under U.S.S.G. g 3E1.1(a), and to move for an
           additional l-level reduction at sentencing pursuant to g 3E1.1(b).
           Howevero the defendant understands and agrees that this
           recommendation is conditioned upon the following: (i) the defendant
           testifies truthfully during the change of plea and sentencing hearings,
           (ii) the defendant provides complete and truthful information to the
           Probation Oflice in the pre-sentence investigation, including accurate
           and truthful financial information, and (iii) the defendant commits no
           further acts inconsistent with acceptance of responsibility. U.S.S.G.
           $3El.l. Whether there will be a reduction for acceptance of
           responsibility shall be determined by the Court in its discretion.

           The parties agree that other than as provided for herein, no other
           Chapter 3 adjustments apply.

      d.   Criminal History Category. Based on information available at this
           time, the parties believe that the defendant's criminal history category
           is II. This does not constitute a stipulation, but a belief based on an
           assessment of the information currently known. The defendant's
           actual criminal history and related status (which might impact the
           defendant's adjusted offense level) will be determined by the Court
           based on the information presented in the Presentence Report and by
           the parties at the time of sentencing. The defendant understands that
           if the Court ultimately determines that his criminal history category is
           other than II, such a determination will not provide a basis for either
           party to withdraw from this Plea Agreement, and the defendant will

                                    4
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                      be sentenced according to the Court's determinations. U.S.S.G.            $
                       4Al.t.

               e.     Guideline Range. If the offense level is 19 (18 (base) +4 (in
                      connection with dealing without a license) -3 (acceptance of
                      responsibility) and the criminal history category is II, the Sentencing
                      Guidelines range is 33-41 months of imprisonment.

                      If the offense level is
                                           15 (18 (base) -3 (acceptance of responsibility)
                      and the criminal history category is II, the Sentencing Guidelines
                      range is2l-27 months.

              f.      Fine Range. If the adjusted offense level is 19, the fine range is
                      $10,000 to $100,000.
                      Ifthe adjusted offense level is 15, the fine range is $7,500 to $75,000.
                      u.s.s.G. $ sEl.2(c)(3).

                      However, the offense of conviction carries a stafutory maximum frne
                      of $10,000. 26 U.S.C. $ 5871.

              g.      Supervised Release. The Sentencing Guidelines require a term of
                      supervised release of not more than 3 years. U.S.S.G. $ 5D1.2; 18
                      u.s.c. $$ 3s83(b)(l) and 3sse(a)(l).

              h.      Sentencing Recommendation and Departures. The parties reserve the
                      right to make a motion for departures from the applicable Guidelines
                      range and to oppose any such motion made by the opposing party. The
                      parties reserve the right to argue for a sentence outside the applicable
                      Guidelines range.

       7.     Discretion of the Court. The foregoing stipulations are binding on the

parties, but do not bind the Court. The parties understand that the Sentencing Guidelines

are advisory and their application is a matter that falls solely   within the Court's discretion.

The Court may make its own determination regarding the applicable Guidelines factors

and the applicable criminal history category. The Court may also depart from the applicable

Guidelines range.   If the Court determines that the applicable guideline calculations or the

defendant's criminal history category are different from that stated above, the parties may
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not withdraw from this agreement, and the defendant       will be sentenced    pursuant to the

Court's determinations.

         8.     Special Assessment. The Guidelines require payment              of a     special

assessment     in the amount of $100.00 for each felony count of which the defendant is

convicted. U.S.S.G. S 5E1.3. The defendant understands that the special assessment

becomes due and payable at sentencing.

         9.     Waivers of Appeal and Collateral Attack. The defendant understands that

18 U.S.C. 5 3742 affords the defendant the right to appeal the sentence imposed in this

case. Acknowledging this    right, and in exchange for the concessions made by the United

States in this plea agreement, the defendant hereby waives all rights conferred   by   18 U.S.C.


S 3742   to appeal the defendant's sentence, unless the sentence exceeds 27 months. The

defendant has discussed these rights with his attorney. The defendant understands the rights

being waived, and he waives these rights knowingly, intelligently, and voluntarily.

         10.    Forfeiture. The defendant agrees to forfeit to the United   States, punuant to

2l U.S.C. $ 853(a), 18 U.S.C. $ 924(dxl), 28 U.S.C. g 2a6l(c), and 26 U.S.C.           5872, all

property constituting or derived from proceeds obtained from the offenses and all properfy

used, in any manner or part, to commit or to facilitate the commission of the offense,

including, but not limited to: an unmarked l2-gauge shotgun with a barrel measuring less

than 18 inches, and an overall length of less than26 inches.

       The defendant agrees that the United States may, at its option, forfeit such property

through civil, criminal or administrative proceedings, waives any deadline or statute        of
limitations for the initiation of any such proceedings, and abandons any interest he may
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have in the properly. The defendant waives all statutory and constitutional defenses to the

forfeiture and consents to the destruction of the hrearms, ammunition, and accessories.

       11.    Consent to Abandonment, Transfero or Destruction of Other Property.

The defendant hereby voluntarily surrenders and relinquishes all rights, title, and interest

in, and all claims to the property described in Attrachment A. The defendant agrees that said

properfy may be disposed of by the United States in accordance with applicable law,

consents to its forfeiture, and abandons any interest he has in said property. The defendant

consents to the destruction of the property and withdraws any claim or petition he has filed

with respect to the properly.

       The defendant waives any right he would otherwise have to receive notice of any

forfeitwe proceeding, any right to challenge any forfeiture, and any right to later request

remission or mitigation of forfeiture or otherwise seek the retum of the above-described

property under Federal law. The defendant expressly waives all constitutional, legal and

equitable claims arising out         of and/or   defenses   to forfeiture of the property in   any

proceeding, including any claim of innocent ownership and any claim or defense under the

Eighth Amendment including any claim that such forfeiture constitutes an Excessive Fine.

       The defendant releases and holds harmless the U.S. Department of Justice and all

federal and local law enforcement personnel from any and all claims for damages, causes

of action or suits related to the seizure, custody, destruction, or other lawful disposition of

the above-described property.

       12.    Disposition of Other Property, ATF Item Number 2, a Sun City Machinery

shotgun, SN- I 7261   3,A.   will be disposed of to an approved third party designee, pursuant to
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Hendenon v. United States, 575 U.S. 622,135 S. Ct. 1780 (2015). Upon identification of

a quali$ing third party, appropriate assurances from the third party and a Court order

approving the transfero the firearm   will   be released from   ATF directly to the third party. If

this process is not completed within 6 months after the signing of this agreement, the

Defendant hereby agrees that his interest in the property           will be abandoned upon     the

expiration of the 6 months.

       ATF item numbers 8 (an FIP laptop model 17-AR050WM with serial number

5CD7325KTO) and 44 (a black Samsung Galaxy S9 (SM G9OU) cellular telephone with

IMEI 352410093380314) will have their data erased and then will be retumed to the

defendant or a third party designee.

       13.    FOIA Requests. The defendant waives all rights to obtain, directly or

through others, information about the investigation and prosecution of this case under the

Freedom of Information Act, 5 U.S.C. S 552, or any other similar law or process.
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       14.   Complete Agreement. This, along with Attachment A and any agreement

signed by the parties before entry of the plea" is the entire agreement and understanding

between the United States and the defendant.



^W w,Lrzt                                      W. ANDERS FOLK




Date:
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Date:25:Aw\e)2;\




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                                                             Attachment A

000006                                ELEVEN(ID X)LYMER tO NGS
                        OTIIER: OTHE& FIREARM KIT WTTH FRAME, MAGAZINES, SLIDE,   BARREII, SIGIfIS, MISC PARTS, AND MISC
@009       tAsnOZt                                                                                                                             .25276t8.
                        PAPERWORK
00@ll     lllS/2021     OTHER:   OTHE& POLYMER E0 RECEIIv'ER @F9,+0C)                                                                          .2527645*
00(X)t3   r/15/2021     OTHER:   OTI{E& INSTRUCTION B@KLE'[ FOR l9l I P}IANTOM nc STEALTH ARMS                                                 12527657*
@@14      l/1312021     OTHER:   OTHE& BLUE FLORALBAGCONTAINING DRUG PARAPHENALLA                                                              .25n65t1
00@ 15    lll5l202l     OTHER:   OTm& DRUG PARAPHENALI,{                                                                                       *2527663.
000018    Vl5n02l       OTHER:   OTHE& CARDBOARD POLYMERSo BOX                                                                                 .2527692'
m0021     l/l5?02l      OTHER:   OTHE& RML ARMS PRFCISION DROP IN BARREL (FITS GIJOCK t9)                                                      .2527713.
N0027     l/15/2021     OTHER:   OTHE& UNOPENED PACKAGE FROM JSD SU?PLY ADDRESSm TO DAYTON SAUKE                                               42527734r
000028    Itl5l202l     OTHER:   OTHE& UNOPENED PACKAGE FROM ROCKEY BRASS ADDRESSED TO DAYTON SAUKE                                            12527740n
000030    l/l5D02l      OTHER:   OTHE& RED GRINDER CONTAINING MARIJUANA RISIDUE
                                                                                                                                               '2527746.
000031    ltl5n02r      OTHER:   OTHE& ROGERS GLOCKMAG WELL OIrS GLOCK l9A3l328t)                                                              ,2527748.
00@32     l/ls/2ml      OTHER:   OTIIER, BLACK CARDBOARD POLYMEREo BOX                                                                         .252773t*
00@33     Ilr5t202l     OTHER:   R-EAI- ABID 4 lN t TOOLFOR GIOCK                                                                              .25n79.
000034    Itrs/2021     OTHER: OTHER, ASSORTED   GtN PARTS                                                                                     .25n757*
0@037     t/t5D02r      OTHER: OTHE& BLACK GRIDER CONTAINING RESIDUE                                                                           .25n768.
00003t    ut5n02l       AMMUNilON: AMMUNfiON COMPONENTS, QTY: 100, MNF: HORNADY, CAL: 9                                                        .2527n2'
000039    tl15/2021     OTHER: OTHE\ DRUG PARAPHENALIA (GLASS PtrE CONTAINING RESIDIIE)                                                        42527776r
000040    rt5n02l       OTHER: OTllER, DRUG PARAPHENALIA AND PACKAGING (SMOKING DEVICES, CARTRIDGES. ETC.)                                     ,25277D.
          It5n02l       DRUG:OTHERNARCOTICS,QTY:1,MEA;GRAMS,ONE(l)TONXCONCENIRATEIGRAMHYBRID,
000041                                                                                                                                         .252778r''1
                        WATERMELON CANNABIS EXTRAC'T CARTRIDCE
                        DRUG: OTHER NARCOTICS, qrY: I, MEA GRAMS, ONE (l) BLACK DIAMOND CANNABIS D(TRACT CARTRIDGE,
ot{n42    t/t5t2021                                                                                                                            .2527794.
                        SIJNSE'T SIIERBERT (THC tsolo)

0@050     I/r5n02l      DRUG: OTHER NARCOTICS, QTY: 59.9, MEAj   cRAIrtS,9T LIGIII GREEN PILU WEIGHING   59.   I GRAMS INCLUDING               1252802A+
                        PACKAGING
                        OTHER: OTHER, ONE (D CARDBOARD BOX CONTAINING PARTS FOR USE      \ITIH CNC FIREARMS
000052    t/15/2021                                                                                                                            .2s?aut
                        MANT'FACTURING MACHINE
@00s3     !t5n02t       OTHER: OTHE&   ONE(l) CNC FIREARI{S MANUFACTURING MACHIM. UNKNOWN MAKE ANDMODEL                                        .252t048.
                        OTHER:OTHER,USPSPRIORITYMAILPACKAGEORACKINGNUMBER9410tl1202555518JOt                     37)ADDRESSEDTODAYTONSAljKE,
                        640 I3TH ST SE, OWATONNA, MN 550@,4IIT WTTH SENDERIDENTIFIMAS JSD SUPPLY 1052
@@55        tt28t2o2r   NEwCASTLEROAD,PROSPECT.PAt6052                                                                                           4253 I   t63.
                        OTHER: OTHER, MAIL INNOVATIONS PACKAGE CIRACKINGNI'MBERS2T4 8901 0937 8OJ5 3031 OtTl 35)
00005E                                                                                                                                           .2537448.
                        ADDRESSED TO DAYTON SAI]'KE,640 I3T1I ST SE OWATONN.A! MN 55060
                        OTIIER: OTI{ER, MAIL INNOVATIONS PACKAGE (TRACKINGNUMBER9274ag't c937a0553031 O93j 8n
000059     2J9D02l                                                                                                                               .2537450t
                        ADDRESSED TO DAYTON SAI'KE, 640 I 3TH ST SE, OWATONNA MN 55060
                        OTHER: OTHE\ USPS PRIORITY MAIL PACKAGE (IRACKING NUMBER 9403 5tt2 O23s 5326 7260 93) ADDRESSED
                        TODAYTON SAUKE,640 I3TH    ST SE. OWATONNAS   MN55060'4II I WTTH SENDERIDENTIFIED AS      JSD SUPPLY   IO52NEWCASTLE
00(n60     ut0t2ut      ROAD. PROSPECT. PA 16052                                                                                                .2537639.
